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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION


   TANYA GERSH,                                     CV 17-50-M-DLC-KLD

                         Plaintiff,
                                                    ORDER
   vs.

   ANDREW ANGLIN, publisher of
   the Daily Stormer,

                         Defendant.

         Plaintiff moves for the admission of Daniel J. Kramer to practice before this

Court in this case with John Morrison to act as local counsel. (Doc. 217.) This

case, however, has been closed since the Clerk of Court entered Judgment on

August 8, 2019. (Doc. 215.) Plaintiff fails to explain why the admission of

additional pro hac counsel is required in this matter.

         Accordingly, IT IS HEREBY ORDERED that Plaintiff’s motion to admit

Daniel J. Kramer pro hac vice is DENIED. Plaintiff may refile her motion showing

cause why additional counsel is needed in this case, which has been closed for over

one year.

         DATED this 12th day of August, 2020.

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                                               Kathleen L. DeSoto
                                               United States Magistrate Judge
